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5     Attorneys for Plaintiffs
6     (Additional Counsel Listed Below)
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10                                UNITED STATES DISTRICT COURT
11                               CENTRAL DISTRICT OF CALIFORNIA
12    IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668-BRO-JEM
13    LEAGUE’S “SUNDAY TICKET”                   Assigned to the Honorable Beverly Reid
      ANTITRUST LITIGATION                       O’Connell
14
                                                 DECLARATION OF CALEB
15                                               MARKER IN SUPPORT OF
                                                 NOTICE OF MOTION AND
16                                               MOTION TO REMAND CASE
                                                 TO THE SONOMA COUNTY
17                                               SUPERIOR COURT AND
                                                 MEMORANDUM OF POINTS
18                                               AND AUTHORITIES IN
                                                 SUPPORT THEROF
19
20    THIS DOCUMENT RELATES TO:                  Date:      March 21, 2016
                                                 Time:      1:30 p.m.
21                                               Courtroom: 14
      LIPPINCOTT, ET AL. v. DIRECTV, INC.,
22    ET AL.
23    Case No. CV 15-09996 BRO (JEMx)
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      DECLARATION OF CALEB MARKER
     Case 2:15-ml-02668-PSG-SK Document 26 Filed 01/29/16 Page 2 of 3 Page ID #:154




1     I, Caleb Marker, hereby declare as follows:
2           1.     I am an attorney at law admitted to practice law before this Court and
3     am one of the counsel of record representing Plaintiff and the Class in this matter
4     bearing Case No. 2:15-ml-02668-BRO-JEM.
5           2.     The following facts are within my personal knowledge, and if called as
6     a witness, I could and would competently testify thereto.
7           3.     I am of counsel at Zimmerman Reed, LLP in Long Beach, California,
8     which I joined in 2010.
9           4.     Prior to joining Zimmerman Reed, LLP, I practiced substantially
10    similar areas of law at Consumer Law Center, PLLC in East Lansing, Michigan
11    since my admission to the Bar. I am a graduate of Michigan State University and
12    Michigan State University’s College of Law in East Lansing, Michigan. I have been
13    a member in good standing of the State Bar of Michigan since 2007, the District of
14    Columbia Bar Associations since 2009 (inactive), and the State Bar of California
15    since 2010. I am also admitted to practice before the following courts: U.S. District
16    Court for the Central District of California, U.S. District Court for the Southern
17    District of California, U.S. District Court for the Northern District of California,
18    U.S. District Court for the Western District of Michigan, U.S. District Court for the
19    Eastern District of Michigan, U.S. District Court for the Northern District of Illinois,
20    and the U.S. District Court for the Western District of Texas.
21          5.     Attached as Exhibit A, is a true and correct copy of Plaintiffs’ original
22    Complaint filed in the Superior Court of the State of California in the County of
23    Sonoma Case No. SCV-257854, which was attached as Exhibit 1 to Docket No.1 in
24    the Notice of Removal filed by Defendants in the United States Federal Court for the
25    Northern District of California, Case No. 3:15-cv-05096, ECF No. 1-1.
26          6.     Attached as Exhibit B, is a true and correct copy of Defendants’ Notice
27    of Removal of Plaintiffs’ original Complaint filed in the Superior Court of the State
28    of California in the County of Sonoma Case No. SCV-257854, which Defendants

      DECLARATION OF CALEB MARKER            1
     Case 2:15-ml-02668-PSG-SK Document 26 Filed 01/29/16 Page 3 of 3 Page ID #:155




1     filed in the United States Federal Court for the Northern District of California in
2     Case No. 3:15-cv-05096.
3           I declare under penalty of perjury that the foregoing is true and correct to the
4     best of my knowledge.
5           Executed this 29th day of January, 2016 at Manhattan Beach, California.
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7                                           By:    /s/ Caleb Marker
8                                                  Caleb Marker
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      DECLARATION OF CALEB MARKER           2
